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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                       IN THE UNITED STATES DISTRICT COURT                                 May 05, 2022
                       FOR THE SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

JAMES TOWNSEND AND                               §
LESLIE TOWNSEND,                                 §
                                                 §
                       Plaintiffs,               §
                                                 §
VS.                                              §           CIVIL ACTION NO. H-22-250
                                                 §
MIDLAND MORTGAGE,                                §
                                                 §
                       Defendant.                §

                                             ORDER

       The court granted the defendant’s motion to dismiss on March 29, 2022. The court gave

the plaintiffs leave to amend no later than April 30, 2022. The court warned the plaintiffs that the

case would be dismissed with prejudice if the plaintiffs did not timely amend. (Docket Entry No.

9). The plaintiffs did not amend. This case is dismissed with prejudice for failure to prosecute

under Federal Rule of Civil Procedure 41(b).

            SIGNED on May 5, 2022, at Houston, Texas.




                                                     ___________________________________
                                                                 Lee H. Rosenthal
                                                          Chief United States District Judge
